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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                            :
UNITED STATES OF AMERICA                    :
                                            :
       v.                                   :       21-cr-00565 (CJN)
                                            :
ULIYAHU HAYAH                               :
                                            :

                                     STATUS REPORT

       Undersigned counsel, Carlos Vanegas, on behalf of defendant Uliyahu Hayah submits the

following Status Report as requested by the Magistrate Court during the Monday, September 13,

2021 hearing.

       1.       Mr. Hayah appeared before Magistrate Judge Faruqui on Monday, September 13,

2021 for a Status Hearing and Arraignment. At the conclusion of the hearing, the Court order Mr.

Hayah released on his personal recognizance. The Court was cognizant that Mr. Hayah had an

outstanding warrant issued by a Maryland State Judge. As a result, the Court ordered Mr. Hayah

to immediately report to the Maryland State Court upon on his release.

       2.       On September 15, 2021, Mr. Hayah was presented in the Superior Court on the

fugitive warrant that was issued by the Maryland Judge. Magistrate Judge Nolan released Mr.

Hayah with the same admonition to report to the Maryland Court to resolve the outstanding

probation warrant.

       3.       On September 16, 2021, Mr. Hayah reported to the Maryland Court. Mr. Hayah

was detained pending an appearance before the presiding judge who issued the warrant. The

Maryland Court scheduled a hearing for today, September 17, 2021. Undersigned counsel does

not have any updated information regarding the outcome of Mr. Hayah’s hearing. As of the filing
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of this motion, the Vine victim notification network lists Mr. Hayah in the custody of the Prince

George’s Department of Corrections. 1

                                            Respectfully submitted,

                                            A.J. Kramer
                                            Federal Public Defender

                                                     /s/
                                            Carlos J. Vanegas
                                            Assistant Federal Public Defender
                                            625 Indiana Ave., N.W., Suite 550
                                            Washington, D.C. 20004
                                            (202) 208-7500




1
  https://vinelink.vineapps.com/search/persons;limit=20;offset=0;showPhotos=false;isPartialSear
ch=false;siteRefId=MDSWVINE;personFirstName=Uliyahu;personLastName=Hayah;stateServe
d=MD




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